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            Assistant United States Attor        v   ·   FILED   -"'?f.

Before:     SARAH NETBURN                            JLJl 17 2017
            United States Magistrate
            Southern District of New

                                       x                                  #_
UNITED STATES OF AMERICA                     SEALED COMPLAINT

     - v.   -                                Violation of 18 U.S.C.
                                             § 1343
TASLEEM KHAN,

                                             COUNTY OF OFFENSE:
                 Defendant.                  Bronx

                                       x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          MASON POSILKIN, being duly sworn, deposes and says
that he is a Criminal Investigator with the United States
Attorney's Office for the Southern District of New York
("USAO"), and charges as follows:

                               COUNT ONE

                              (Wire Fraud)

          1.   On or about June 3, 2017, in the Southern
District of New York and elsewhere, TASLEEM KHAN, the defendant,
willfully and knowingly having devised and intending to devise a
scheme and artifice to defraud, and for obtaining money and
property by means of false and fraudulent pretenses,
representations, and promises, would and did transmit and cause
to be transmitted by means of wire and radio communication in
interstate and foreign commerce, writings, signs, signals,
pictures, and sounds for the purpose of executing such scheme
and artifice, to wit, KHAN represented to an individual posting
cellular phones for sale on Craigslist that he was an interested
purchaser, but when KHAN met with the individual, he
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impersonated a law enforcement officer and fraudulently obtained
the cellular phones through deception and verbal threats.

            (Title 18, United States Code, Section 1343)

            The bases for my knowledge and the foregoing charge
are,   in part, as follows:

          2.   I am a criminal investigator with the United
States Attorney's Office ("USAO") for the Southern District of
New York, and have been in that position since August 2016.
Previously, I was a Special Agent with the U.S. Department of
Labor ("DOL") for over four years.  While with the USAO and DOL,
I have participated in investigations of wire fraud.

          3.   I am familiar with the facts and circumstances
set forth below from my participation in the investigation of
this case, including my participation in interviews and my
review of documents and records; from my conversations with
other law enforcement attorneys, officers, and staff, including
investigators with the New York City Police Department ("NYPD");
and my review of summaries and analyses prepared by NYPD as part
of this investigation.  Because this Complaint is being
submitted for the limited purpose of establishing probable
cause, it does not include all the facts that I have learned
during the course of my investigation.  Where the contents of
documents and the actions, statements, and conversations of
others are reported herein, they are reported in substance and
in part, except where otherwise indicated.

                   Summary of the Scheme to Defraud

           4.   From my involvement in this investigation, I have
learned that TASLEEM KHAN, the defendant, appears to have
perpetrated and attempted to perpetrate a scheme to defraud
individuals who post cellular phones for sale on Craigslist.    On
at least two occasions, KHAN has responded, via email, text
message, or telephone calls, to postings by victims acting as an
interested buyer.   See infra ~~ 5a, 6a.  KHAN agreed to meet the
victims at an agreed-upon location.   See infra ~~ 5a, 6a.   When
he arrived, KHAN posed as a law enforcement officer, displayed a
shield or badge, told the victims the cellular phone(s) had been
stolen, and threatened the victims with legal action.   See infra
~~ 5b, 6b.  On one occasion, KHAN then took the phones.    See
infra ~ 5b.  On the other, KHAN attempted to take the phone, but
did not because a real police officer appeared on the scene.
See infra ~ 6b.


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                          The Investigation

          5.   From speaking with an NYPD detective ("Detective-
1") and reviewing reports written by other NYPD officers, I have
learned that NYPD officers spoke with a man who resides in the
Bronx ("Victim-1"). According to NYPD reports, on June 3, 2017
Victim-1 reported to an officer with the NYPD's 46th Precinct,
among other things, the following:

               a.   On or before June 3, 2017, Victim-1 posted a
number of cellular phones for sale on Craigslist. 1 Victim-1
received text messages from an interested party. Victim-1
agreed to meet with the interested party to sell two cellular
phones on June 3, 2017 near 2155 University Avenue in the Bronx
at approximately 4:20 p.m. Victim-1 went to the pre-arranged
meeting place accompanied by a friend ("Witness-1").

               b.   At the arranged meeting time and place,
Victim-1 observed a man, later identified as TASLEEM KHAN, the
defendant, see infra ~~ 7-12, wearing sunglasses exiting a white
sedan. KHAN said he needed to check the International Mobile
Equipment Identity numbers on the cellular phones.  KHAN then
displayed a gold-like shield and informed Victim-1 that he was a
law enforcement officer and asked Victim-1 where he had obtained
the cellular phones. Victim-1 said that he owned the cellular
phones.  KHAN took the phones into the white sedan, and after
approximately two minutes left the sedan and told Victim-1 the
phones were reported as stolen property. Around this time,
Witness-1 began to record the incident on his cellular phone
camera, including part of KHAN's conversation with Victim-1 and
KHAN walking behind and next to the sedan. After Witness-1
stopped recording, KHAN drove away with the phones.

           6.  I have reviewed NYPD records that show that on or
about July 7, 2017, an NYPD officer assigned to the case
("Officer-1") spoke via telephone with a man who resides in
Queens ("Victim-2")   Victim-2 reported, among other things, the
following:

               a.   On or before June 29, 2017, Victim-2 posted
a cellular phone for sale on Craigslist. Victim-2 received text
messages from an interested party. Victim-2 agreed to meet with

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   Based on my training and experience, I know that Craigslist is
an online forum which, among other things, allows individuals to
list items for sale.


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the interested party to sell the phone on June 29, 2017 near
74th Street and Roosevelt Avenue in Queens at approximately 5:30
p.m.

               b.   At the arranged time and meeting place,
Victim-2 observed a man, later identified as TASLEEM KHAN, the
defendant, see infra ~~ 7-12, exiting a white Ford Crown
Victoria with New Jersey license plates. KHAN said he needed to
check the International Mobile Equipment Identity numbers on the
cellular phone to see if it was stolen. KHAN took the phone
into the vehicle, and returned to tell Victim-2 to enter the
vehicle because the phone was stolen. Victim-2 refused, and
called 911 requesting the police. KHAN told Victim-2 that he
was a law enforcement officer, displayed a gold-like shield, and
demanded Victim-2 enter the vehicle. Victim-2 flagged down a
passing police car. When the police car stopped, KHAN returned
the phone to Victim-2, entered the car, and drove off. Victim-2
did not stop to speak with the police officer in the passing
police car, because he was happy to have his phone back.

      Identification of KHAN as the Wire Fraud Perpetrator

          7.   Witness-1 shared with NYPD officers the cellular
phone camera video he recorded of the man who perpetrated the
June 3, 2017 fraud.  I have reviewed the video, which shows a
man, since identified as TASLEEM KHAN, the defendant, see infra
~ 12, walking next to a white sedan.  The white sedan has a New
Jersey license plate, with a particular license plate number
(the "License Plate").

          8.   I have reviewed records that show that the
License Plate is registered to a 1998 Mazda at a particular
address in Lumberton, New Jersey (the "Address"). An NYPD
officer checked license plate reader databases, and found two
pictures of a white Ford Crown Victoria with the License Plate
in the greater Manhattan area.

          9.   I have reviewed NYPD records that show that NYPD
officers created a poster depicting the man who perpetrated the
June 3, 2017 fraud, based on a still photo from the video taken
by Witness-1 (the "Wanted Poster").

          10.  I have reviewed NYPD records that show that on or
about June 15, 2017, Officer-1 contacted the Lumberton, New
Jersey Police Department, and requested that a Lumberton police
officer drive past the Address. That same day, a Lumberton
officer called Officer-1 and told him that there was a white


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Ford Crown Victoria in the Address's driveway, with a license
plate number that was different from the License Plate. 2 That
license plate is registered to a 2006 Ford Crown Victoria, at
the Address in Lumberton, NJ. The Lumberton police officer
reported to Off icer-1 that the person known to operate this
vehicle is TASLEEM KHAN, the defendant.   After reviewing an
image of the Wanted Poster, the Lumberton police officer told
Officer-1 that the man in the Wanted Poster was TASLEEM KHAN,
the defendant.3

          11.  I have reviewed NYPD records which show that KHAN
was previously charged for offenses in New York State on or
about September 4, 2015, and gave his address as the Address. 4 I
have also reviewed records from the Department of Homeland
Security that show the last known address for KHAN is the
Address.

           12.  I have reviewed NYPD reports, which indicate that
on or about July 8, 2017, Officer-1 and another NYPD detective
 ("Detective-2") spoke with Victim-2. Detective-2 has not been
involved in the investigation of the fraud.   Detective-2
presented Victim-2 with a photo array, outside the presence of
Officer-1. Victim-2 selected TASLEEM KHAN, the defendant, as
the man who attempted to steal his phone on June 29, 2017.




2
   Based on my training and experience, I know that individuals
who engage in criminal activity sometimes change their license
plates when doing so, in order to evade detection by law
enforcement.
3 The Lumberton police officer indicated that he had numerous
interactions with TASLEEM KHAN.
4
   KHAN was also arrested for offenses on or about September 18,
2013 and gave a different New Jersey address.


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          WHEREFORE, deponent respectfully requests that a
warrant be issued for the arrest of TASLEEM KHAN, the defendant,
and that he be arrested and imprisoned or bailed, as the case
may be.
                                               .·:'?




                                  MASON POSILKIN
                                  Criminal Investigator
                                  United States Attorney's Office
                                  Southern District of New York


Sworn to before me this
17th day of JULY, 2017



THE HONO BLE SARAH NE.BUEN
UNITED STATES IVIP...GISTR.Z\. 'E ,JUDGE
SOUTHERN DISTRICT OF N            YORK




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